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FILED
CLERK, U.S. DISTRICT COURT

  

 

 

 

 

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7 UNITED STATES DISTRICT COURT

8 CENTRAL DISTRICT OF CALIFORNIA

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10| SUVANNA THANASOMBAT and No. CV 13-7679 UA (DUTYx)

SOMAK THANASOMBAT,
11 ORDER SUMMARILY REMANDING
ACTION TO STATE COURT
12
Plaintiffs,
13 Vv.
14} RACHID ROUHI, ANITA
HIRANYAKAM, Does 1 to 10,

15
16 Defendants.
17
18 The Court will remand this “Complaint - Unlawful Detainer,” Case No. 13P03171,

19|| to state court summarily because Defendants removed it improperly.

20 On October 17, 2013, Defendants Rachid Rouhi and Anita Hiranyakam, having
21] been sued in what appears to be a routine unlawful detainer action in California state
22|| court, lodged a Notice of Removal of that action to this Court and also presented an
23 || application to proceed in forma pauperis.

24 The Court has denied the in forma pauperis application under separate cover
25| because the action, again, was not properly removed. To prevent the action from

26| remaining in jurisdictional limbo, the Court issues this Order to remand the action to
27 || state court.

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Simply stated, as the Court has previously determined, Plaintiffs could not have
brought this action in federal court in the first place, in that Defendants do not
competently allege facts supplying either diversity or federal-question jurisdiction, and
therefore removal is improper. 28 U.S.C. § 1441(a); see Exxon Mobil Corp v. Allapattah
Sves., Inc., 545 U.S. 546, 563, 125 S, Ct. 2611, 162 L. Ed.2d 502 (2005). Even if
complete diversity of citizenship existed, the amount in controversy does not exceed the
diversity-jurisdiction threshold of $75,000. See 28 U.S.C. §§ 1332, 1441(b). On the
contrary, the unlawful-detainer complaint recites that the amount in controversy does not
exceed $10,000.

Nor does Plaintiffs’ unlawful detainer action raise any federal legal question. See
28 U.S.C. §§ 1331, 1441(b).

Accordingly, IT IS ORDERED that (1) this matter be REMANDED to the Superior
Court of California, County of Los Angeles, 300 E. Walnut Street, Pasadena, California
91101 for lack of subject matter jurisdiction pursuant to 28 U.S.C. § 1447(c); (2) that the
Clerk send a certified copy of this Order to the state court; and (3) that the Clerk serve
copies of this Order on the parties.

IT IS SO ORDERED.

DATED: 49/2 “ff -? /
GEORGE H. KING
t\Judge

 

Chief United States Distri

Presented by:

/S/ DERICK F. MUMM

FREDERICK F. MUMM
United States Magistrate Judge

 
